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                  y\frC; rf fUf ni!\iwc^f \i ieAdf T rr^Myf^ O/S M ^kmoMy^j-fklt'
                  i w\f U,5 Ikfi/f, fb^frW^ «„<; pj<;5'life/ f k y L-^'^ P'^^efe^                                                                                                                                                                                                              t^'^i^-
f   'j\/ko*       —                          • •           "           " — "           —^         '—'~'—'                           —'                     ———          '                       —•        •'••                    '           '   '•     ry~^—'—             '                         —"—'"•—'—
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    IHf:   "                           •           '           ;   •   •




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